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                           UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


                                                   )
  SARAH PADILLA,                                   )
                                                   )
              Plaintiff,                           )
                                                   )
  v.                                               ) Civil Action No. 1:14-cv-2556 -RBJ-CBS
                                                   )
                                                   )
  ACS RECOVERY INC.;                               )
  MATTHEW CLASS; and                               )
                                                   )
  DOE 1-5                                          )
  .,………….Defendants.                               )
                                                   )
                                                   )



                                 FIRST AMENDED COMPLAINT
                                     (Jury Trial Demanded)

         1.      Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C.

  1692 et seq. (“FDCPA”).



                                   JURISDICTION AND VENUE

         2.      This Court exercises jurisdiction under 15 U.S.C. 1692k and 28 U.S.C. 1331.

  This District is of proper venue as Plaintiff is a resident within this District and Defendants

  engaged in the activities herein alleged against Plaintiff while Plaintiff so resided.



                                               PARTIES

         3.      Plaintiff, Sarah Padilla (hereinafter “Plaintiff” or “Mrs. Padilla”), is a natural

  person residing in Edgewater, Colorado. Defendant ACS RECOVERY INC. is a New York

  corporation with a principle place of business at 5720 Tonawanda Creek in Lockport, New York.



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  MATTHEW CLASS is the chief executive officer of ACS RECOVERY INC., a debt collector,

  and responsible for the policies and procedures of the company, including those giving rise to

  one or more of Plaintiff’s causes of action stated herein.

         4.       Plaintiff is ignorant of the true names and capacities of the defendants sued

  herein as DOE 1-5, and therefore sues these defendants by such fictitious names. Plaintiff will

  amend this Complaint to allege the true names and capacities once ascertained. Plaintiff believes

  and thereon alleges that the fictitiously named defendants are responsible in some manner for the

  occurrences herein alleged, and that such defendants are responsible to Plaintiff for damages

  and/or monies owed.

         5.       ACS RECOVERY INC., MATTHEW CLASS, and DOE 1-5 shall hereafter be

  jointly referred to as “Defendants.”

         6.      Defendants regularly operate as third-party debt collectors and are “debt

  collectors” as defined by 15 U.S.C. 1692a.



                                    FACTUAL ALLEGATIONS

         7.      Defendants engaged in debt collection efforts in an attempt to collect a consumer

  debt allegedly owed by Mrs. Padilla.

         8.      In mid-2012 Defendants began leaving voicemail messages for Mrs. Padilla on

  her mother’s home phone number.

         9.      Defendants repeatedly left the same voicemail message for Mrs. Padilla, the

  content of which is as follows: “You have an important legal matter in our office and we need a

  statement from you today. Failure to contact our office today will result in a statement being

  provided for you and we will continue our legal proceedings. You may press zero to be




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  connected to an agent immediately or you can call our office at 866-850-3712. Again this is an

  important and confidential message for Sarah Meier, account number 1371178. You have an

  important legal matter in our office and we need a statement from you today. Failure to contact

  our office today will result in a statement being provided for you and we will continue our legal

  proceedings. You may press zero to be connected to an agent immediately or you can call our

  office at 866-850-3712. This is an attempt to collect a debt. Any information will be used for

  that purpose.”

         10.       Defendants continued to call and leave the messages on Mrs. Padilla’s mother’s

  home phone number through March 28, 2014. Mrs. Padilla does not reside with her mother.

  Mrs. Padilla’s mother would advise Mrs. Padilla of the messages and forward them to her. Mrs.

  Padilla never authorized Defendants to discuss her alleged debt or otherwise

  communicate with her mother or any other third-party.

         11.       Increasingly concerned and harassed by Defendants’ calls, Ms. Padilla retained

  counsel with Centennial Law Offices.

         12.       As a direct result of the collection activity herein alleged, Ms. Padilla incurred

  legal fees of $2,555.00.



                                         CAUSES OF ACTION

                                                COUNT I

         13.       Plaintiff re-alleges paragraphs 1 through 12, inclusive, and by this reference

  incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

  herein alleges that Defendants, and each of them, violated 15 U.S.C. 1692d(6) with regards to




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  Plaintiff as follows: Defendants failed to provide meaningful disclosure of their identity in their

  telephone messages to Plaintiff.



                                              COUNT II

         14.     Plaintiff re-alleges paragraphs 1 through 12, inclusive, and by this reference

  incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

  herein alleges that Defendants, and each of them, violated 15 U.S.C. 1692c(b) by

  communicating, in connection with the collection of a debt, with a third-party without Plaintiff’s

  consent.



                                       PRAYER FOR RELIEF

  WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, recovery for

  each cause of action in the alternative, as follows:


         1.) For statutory damages in the amount of $1,000 pursuant to 15 U.S.C. 1692k(2);

         2.) For $2,555.00 in legal fees incurred in responding to unlawful collection activity;

         3.) For prejudgment interest in an amount to be proved at time of trial;

         4.) For attorney’s fees pursuant to 15 U.S.C. 1692(k);

         5.) For the costs of this lawsuit; and

         6.) For any other and further relief that the court considers proper.



                                           JURY DEMAND

         Plaintiff demands a jury trial.




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   Date: January 15, 2015
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                                      ________________________________________
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